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7                  UNITED STATES DISTRICT COURT
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
8

9    FEDERAL TRADE COMMISSION,                   Case No. CV 15-4527-GW (PLAx)

10                      Plaintiff,

                        v.                       PROTECTIVE ORDER
11
   BUNZAI MEDIA GROUP, INC.,
12 et al.
                Defendants.
13

14
           Having considered Plaintiff Federal Trade Commission, Defendants Alon
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     Nottea, Roi Reuveni, Doron Nottea, Motti Nottea, Igor Latsanovski, CalEnergy,
16
     Inc., Alan Argaman, Paul Medina, Secured Merchants LLC, and Relief Defendant
17
     Chargeback Armor Inc.’s stipulation for a protective order pursuant to Fed. R.
18
     Civ. P. 26(c), IT IS HEREBY ORDERED:
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           1.    “Sensitive Personal Information” means any (a) Social Security
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     number; (b) sensitive health-related data including medical records; (c) biometric

                         (PROPOSED) PROTECTIVE ORDER
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1    identifier; or (d) any one or more of the following when combined with an
2    individual’s name, address, or phone number: (i) date of birth, (ii) driver’s license
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3    or other state identification number, or a foreign equivalent, (iii) military
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4    identification number, (iv) passport number, (v) an individual’s financial
6    institution account number, or (vi) an individual’s credit or debit card number.
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6             2. SENSITIVE PERSONAL INFORMATION MAY ONLY BE DISCLOSED TO:
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7                 a.     the Court and court personnel;
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8                 b.     the parties’ outside counsel and designated employees only to
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9          the extent necessary to assist in the litigation;
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10                c.     experts and contractors consulted or retained by the parties or
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11         counsel, and their employees, provided that they agree in writing to abide
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12         by this protective order or execute FTC Form X33-Nondisclosure
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13         Agreement for Contractors;
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14                d.     any person who had prior access to the Sensitive Personal
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15         Information or participated in a communication that is the subject of the
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16         Sensitive Personal Information;
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17                e.     witnesses and their counsel, provided that they agree in writing
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24         to abide by this protective order;

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19                f.     the individual defendants.
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                          (PROPOSED) PROTECTIVE ORDER
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1          3.    Disclosure of Sensitive Personal Information to any person described
2   in Paragraph 2 shall be only for the purposes of the preparation and hearing of this
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3   proceeding, or any appeal, or any other matters in connection with these
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4   proceedings, therefrom, and for no other purpose whatsoever.
6          8.    Sensitive Personal Information shall be redacted before filing or filed
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6   with a motion to seal the material.
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7          9.    At the conclusion of this case, any consultant or other person retained
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8 to assist counsel in the preparation of this action shall destroy or return all
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9 Sensitive Personal Information. All Sensitive Personal Information held by the
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10 parties shall be destroyed or returned to the designee, except that the FTC shall
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11 retain, return, or destroy Sensitive Personal Information in accordance with Rule
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12 4.12 of the FTC’s Rules of Practice.
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13       10. This Order continues to govern Sensitive Personal Information after
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14 conclusion of the case absent further order of the Court.
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15       11. Nothing set forth herein shall change, amend, or modify the terms of
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16 any prior orders of this Court, including orders concerning Sensitive Personal
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17 Information.
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24       IT IS SO ORDERED.

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19 Dated: February 8, 2016                        ________________________
26                                                The Honorable Paul L. Abrams
20                                                United States Magistrate Judge
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                         (PROPOSED) PROTECTIVE ORDER
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